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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 American Foreign Service Association, et
 al.,

 Plaintiffs,

 v.

 President Donald J. Trump, et al.,
                                                 Case No. 1:25-cv-00352
 Defendants.




 PLAINTIFFS’ EMERGENCY MOTION FOR A TEMPORARY RESTRAINING
              ORDER AND MEMORANDUM IN SUPPORT

         Pursuant to Rule 65(b) of the Federal Rules of Civil Procedure, Plaintiffs file this

emergency motion for temporary restraining order to stop Defendants’ imminent and

ongoing destruction of evidence.

         Defendants are, as this motion is being filed, destroying documents with potential

pertinence to this litigation. Today, Acting Executive Secretary of USAID Erica Carr sent

an email to USAID staff noting that the agency was “clearing [its] classified safes and

personnel documents” from the Ronald Reagan Building starting today at 9:30 am. The

email further directs USAID staff to “[s]hred as many documents” as possible, and to use

“burn bags for when the shredder becomes unavailable or needs a break.” An image of

that email follows:
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        Plaintiffs sought information from Defendants as to whether these document

destruction efforts are ongoing. Defendants conveyed through counsel just before the

time of filing that they are investigating this matter.

        Plaintiffs, however, cannot wait. Immediate injunctive relief is necessary to halt

this destruction. To obtain a temporary restraining order, “the moving party must show:

(1) a substantial likelihood of success on the merits; (2) that it would suffer irreparable

injury if the [temporary restraining order] were not granted; (3) that [such an order]

would not substantially injure other interested parties; and (4) that the public interest

would be furthered” by the order. Chaplaincy of Full Gospel Churches v. England, 454

F.3d 290, 297 (D.C. Cir. 2006) (citations omitted); see also Hall v. Johnson, 559 F. Supp.

2d 1, 3 n.2 (D.D.C. 2008) (“[T]he same standard applies to both temporary restraining

orders and to preliminary injunctions.” (citation omitted)). “When the movant seeks to

enjoin the government, the final two TRO factors—balancing the equities and the public




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interest—merge.” D.A.M. v. Barr, 474 F. Supp. 3d 45, 67 (D.D.C. 2020) (citing Pursuing

Am.’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016)).1

    I.   Plaintiffs are likely to succeed on the merits.

         Here, Plaintiffs have a substantial likelihood of success on the merits because

Defendants have legal duties to preserve these documents under the Federal Records Act,

USAID’s own Records Management Program, and the duty to preserve evidence for

litigation.

         Defendants have issued a broad, short-fused directive to shred and burn

documents immediately—today—that concern the structure, function, and activities of

USAID. Defendants are destroying these records as this document is being written.

Immediate relief from the court to maintain the status quo is required to prevent

irreparable harm. This plainly violates Defendants’ obligations under the Federal

Records Act (“FRA”), 44 U.S.C. 3301 et seq., as well as records preservation obligations

Defendants have with respect to this ongoing litigation.

         USAID’s Acting Executive Secretary sent an email stating that today, March 11,

personnel would provide “assistance in clearing our classified safes and personnel

documents,” directing employees to “[s]hred as many documents first, and reserve the

burn bags for when the shredder becomes unavailable or needs a break.” This directive



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  In addition to entering preliminary injunctive relief, the Court has broad equitable
powers to order Defendants to preserve documents during ongoing litigation. “Federal
courts have the inherent power to issue orders preserving information relevant to the
claims and defenses brought before them.” United States ex rel. Staggers v. Medtronic,
Inc., No. 1:15-CV-392-TSC-RMM, 2022 WL 4078969, at *2 (D.D.C. Sept. 6, 2022).
Here, Defendants sweeping and unbounded document destruction is so slipshod that
documents relevant to Plaintiffs' claims could inevitably be destroyed. The Court could
use its inherent powers to immediately cease this destruction. See Order & Opinion,
CREW v. U.S. DOGE Service, Case No. 25-cv-511 (D.D.C. Mar. 10, 2025), ECF No. 18.


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suggests a rapid destruction of agency records on a large scale that could not plausibly

involve a reasoned assessment of the records retention obligations for the relevant

documents under the FRA or in relation to this ongoing litigation.

       The FRA requires that agencies and agency heads “shall make and preserve

records containing adequate and proper documentation of the organization, functions,

policies, decisions, procedures” of the agency, and which are “designed to furnish the

information necessary to protect the legal and financial rights of the Government and of

persons directly affected by the agency’s activities.” 44 U.S.C. § 3101. Records are

defined to include “all recorded information . . . made or received by a Federal agency

under Federal law or in connection with the transaction of public business and preserved

or appropriate for preservation by that agency or its legitimate successor as evidence of

the organization, functions, policies, decisions, procedures, operations, or other activities

of the United States Government” or otherwise of informational value. 44 U.S.C. §

3101(a)(1)(A).

       The FRA further requires that each agency head create a program for effective

records management, including “effective controls over the creation and over the

maintenance and use of records in the conduct of current business.” 44 U.S.C. § 3102. In

carrying out this requirement USAID promulgated records management policies and

retention schedules that “applies to both classified and unclassified records.” See

502.3.6.3 Disposal Authorizations, The USAID Records Management Program (Dec. 2,

2016), https://tinyurl.com/ct6v35zt. Under USAID’s policy and retention schedules,

organizational files must be preserved for 20 years, see Request for Records Disposition

Authority (Jan. 24, 1996), https://tinyurl.com/mryw9c5z, and even emails are that are




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determined to be “non-records” without significant informational value must be

preserved for three years, see 502.3.6.3 Disposal Authorizations. USAID policy only

permits destruction of records on a rapid basis “in the event of extreme emergency.”

502.3.6.6 Emergency Destruction. And such “emergency” destruction may only take

place consistent with 36 C.F.R. Part 1229, which permits documents to be destroyed

“during a state of war between the United States and any other nation or when hostile

action appears imminent.”

       The core purpose of the FRA is to ensure that agencies preserve records necessary

for their future business and to protect the rights of outside parties who may be affected.

44 U.S.C. § 3101. Here, Defendants are rushing to destroy USAID records with a broad

brush in a matter where the agency’s continued functioning is the very matter at issue. In

short, Defendants are seeking to accomplish precisely what the FRA exists to prevent:

document destruction that would make impossible the functioning of the agency and the

vindication of the rights of “persons directly affected by the agency’s activities.” Id.

       Further, there exists a duty to preserve evidence when litigation is reasonably

foreseeable and the evidence is likely relevant. Gerlich v. U.S. Dep’t of Just., 711 F.3d

161, 171 (D.C. Cir. 2013); see also Shepherd v. Am. Broad. Cos., 62 F.3d 1469, 1481

(D.C. Cir.1995) (noting that a party to litigation has “an obligation to preserve and also

not to alter documents it knew or reasonably should have known were relevant ... if it

knew the destruction or alteration of those documents would prejudice [its opponent]”).

Litigation here is not just foreseeable: it is ongoing. And the documents targeted for

destruction (e.g., personnel documents) appear to be directly relevant to Defendants’




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ongoing efforts to dissolve the agency, which includes a massive reduction in USAID’s

personnel.

          In light of the legal duties to preserve the evidence that Defendants are in the

process of shredding and burning, Plaintiffs are likely to prevail on the merits of their

claims.

    II.   Plaintiffs will suffer immediate, irreparable injury should the agency continue
          to destroy records.

          Plaintiffs will suffer irreparable injury if the TRO is not granted. The “classified”

and “personnel” documents that are currently being shredded contain information that

will be critical to the continued operation or—as the agency continues to be dismantled—

the reconstitution of the agency. For example, if the agency is required as a result of this

litigation to rehire terminated employees, personnel records that identify USAID

employees and contain personal contact information will be essential to rehiring those

employees. If USAID lacks records containing contact information for terminated

employees, it will be severely constrained in its ability to rehire them. Such harms are not

speculative. For example, just last month, the National Nuclear Security Administration

(NNSA) struggled to rehire more than 300 terminated staff because the NNSA lacked

personal contact information and was unable to get in touch with its former personnel.2

USAID will similarly struggle to rehire its staff if it destroys records with contact

information. And if the destruction results in a total erasure of all personnel records, the

agency may not even know who its former employees are.




2
 Brandon Drenon, US government tries to rehire nuclear staff it fired days ago, BBC
(Feb. 18, 2025), https://tinyurl.com/mwspwast.


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        Likewise the destruction of “classified” and “personnel” records could prevent the

agency from resuming operations as normal. Although Plaintiffs do not know at this

moment which records are being destroyed, the destruction of records may severely

undermine the agency’s ability to function. For example, destruction of records that

contain information about the agency’s operations may make it extraordinarily difficult—

if not impossible—to recreate and rebuild agency programming.

III.    The balance of equities and the public interest favor Plaintiffs.

        The equities and public interest favor entry of an order requiring immediate

cessation of the destruction of these records. As discussed above, destruction of these

records is likely unlawful both because it violates the Federal Records Act, as well as

USAID’s own records management program, and is inconsistent with the government’s

obligation to preserve records related to this litigation. “It is well established that the

Government ‘cannot suffer harm from an injunction that merely ends an unlawful

practice.’” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218 (D.D.C. 2020) (quoting Open

Cmties. Alliance v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017)). Further, “[t]here is

generally no public interest in the perpetuation of unlawful agency action.” Open Cmties.

Alliance, 286 F. Supp. 3d at 179 (quoting League of Women Voters, 838 F.3d at 12). “To

the contrary, there is a substantial public interest in having governmental agencies abide

by the federal laws.” Id. (quoting League of Women Voters, 838 F.3d at 12). There is

likewise substantial public interest in ensuring—should this Court elect to grant

Plaintiffs’ requested relief on the pending motion for summary judgment—that

Defendants’ actions do not render nugatory any further orders of this Court by making it

impossible to reconstitute the agency.




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                                     CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court grant their

motion and enter a temporary restraining order enjoining Defendants immediately from

taking any further actions to destroy USAID documentation and immediately take remedial

measures outlined in the Proposed Order until further order of this Court.




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Dated: March 11, 2025            Respectfully submitted,

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      CERTIFICATE OF COMPLIANCE WITH LOCAL CIVIL RULE 7(n)

        Pursuant to Local Civil Rule 65.1(a), at 1:40 pm on March 11, 2025, counsel for
Plaintiffs emailed counsel of record for Defendants’ in this case, notifying counsel of
USAID’s actions and Plaintiffs’ intent to seek immediate injunction relief in short order.
At 2:49 p.m., counsel for Defendants responded that they were investigating. Immediately
prior to making this application to the Court, Plaintiffs emailed counsel electronic copies
of the motion for temporary restraining order, and accompanying proposed order before
completing this electronic filing.

                                                            /s/ Kaitlyn Golden
                                                            Kaitlyn Golden




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